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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FRANCES KALENDER, 20 Civ. 3408 (JGK)

Plaintiff, ORDER

 

- against -
GRIZZLY COOLERS, LLC,

Defendant.

 

JOHN G. KOELTL, District Judge:

The plaintiff has failed to comply with the orders of the
Court filed on July 22, 2020 and August 13, 2020 directing the
plaintiff to file a proposed Order to Show Cause. In light of
this, the case is dismissed for failure to prosecute without
prejudice. No less severe remedy would be sufficient. The
dismissal without prejudice is itself less severe than dismissal
with prejudice. The Clerk is directed to close the case.

SO ORDERED.

Dated: New York, New York
October 21, 2020

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\ /~ John G. Koeltl
United States District Judge

 

 

 

 

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